

Matter of Mooney (2020 NY Slip Op 08155)





Matter of Mooney


2020 NY Slip Op 08155


Decided on December 31, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 31, 2020

PM-182-20

[*1]In the Matter of Tara Marie Mooney, an Attorney. (Attorney Registration No. 5004924.)

Calendar Date: December 21, 2020

Before: Garry, P.J., Lynch, Clark, Aarons and Colangelo, JJ.


Tara Marie Mooney, Sharon, Pennsylvania, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Tara Marie Mooney was admitted to practice by this Court in 2012 and lists a business address in Sharon, Pennsylvania with the Office of Court Administration. Mooney now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Mooney's application.
Upon reading Mooney's affidavit sworn to October 14, 2020 and filed October 22, 2020, and upon reading the December 8, 2020 correspondence in response by the Chief Attorney for AGC, and having determined that Mooney is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Lynch, Clark, Aarons and Colangelo, JJ., concur.
ORDERED that Tara Marie Mooney's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Tara Marie Mooney's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Tara Marie Mooney is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Mooney is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Tara Marie Mooney shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








